Case 2:05-cr-20206-.]TF Document 18 Filed 06/08/05 Page 1 of 2 Page|D 19

IN THE UNITED sTATEs DISTRICT COURT t"~ 'YVG-"
FoR THE WESTERN DISTRICT oF TENNEssEE f l o 4 _
wESTERN DIvIsIoN 03 suit -a 1 it li» 09

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;s.a. east ct
itt estimates

  

UNITED STATES OF AMERICA
v.

REGINALD SELLERS 05cr20206-D

 

ORDER ON ARRAIGNMENT

This cause came to be heard on § ?M g d ¢ ZU//, 5 the United States Attorney
for this district appeared on behalf of the go emment, and the defendant appeared in person and with

counsel:

NAME y c%_" Z/¢(A/L¢j/ whois Retained/Appointed.

 

l__'_-_._
The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
Shown to a District Judge, such period is extended

l/¥\e defendant, Who is not in custody may stand on his present bond.
he defendant, (not having mad ond) (being a state/prisoner) (being a federal
prisoner) (being held without bond pursuant to BRA of 1984), is remanded to the Custody

of the U.S. Marshal. M

UNITED STATES MAGISTRATE ]UDGE

CHARGES: activities re material containing child pornography - 18:2252(a)(4)(b)
Attorney assigned to Case: D. Newsorn

Age: 2 69

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UNITED sTTES DISTRIC CoUR - WESTERN D"RITICT o TENNESSEE

   
 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 18 in
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Dan Newsom

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Honorable Bernice Donald
US DISTRICT COURT

